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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   IRVIN MUSGROVE,                                     Case No.: 20CV614-JO-BLM
12                                      Plaintiff,
                                                         ORDER DENYING PLAINTIFF’S
13   v.                                                  MOTION FOR
                                                         RECONSIDERATION
14   OCEANSIDE HOUSING AUTHORITY
15   ET AL.,
16                                    Defendants.
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21         Pro se Plaintiff Irvin Musgrove filed an “emergency motion to immediately address
22   and remove the fraud upon the court” and to “credit my right to due process and equal
23   protection.” Dkt. 229. In this motion, he alleges that Judge Curiel made a fraudulent
24   representation which benefited Defendant, and that he improperly deemed Plaintiff’s
25   service of process invalid. Further, he claims that this Court has a duty to report and
26   “remove” the alleged fraud from the case by returning it to its prior posture. The Court
27   again construes this filing as a request to reconsider each of the Court’s orders issued from
28   March 4, 2021, to the present.

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                                                                                   20CV614-JO-BLM
 1         The Civil Local Rules permit a party to seek reconsideration of an order. See S.D.
 2   Cal. CivLR 7.1(i). Reconsideration is “an extraordinary remedy, to be used sparingly in
 3   the interests of finality and conservation of judicial resources.” Kona Enters., Inc. v. Estate
 4   of Bishop, 229 F.3d 877, 890 (9th Cir. 2000) (internal quotation marks omitted). The Ninth
 5   Circuit has identified three grounds for reconsideration: (1) newly discovered evidence; (2)
 6   an intervening change in controlling law; or (3) to correct clear error in the prior decision
 7   or a result of manifest injustice. Mustafa v. Clark Cty. Sch. Dist., 157 F.3d 1169, 1179 (9th
 8   Cir. 1998). Once again, Plaintiff has not satisfied any of the above grounds, as he has not
 9   identified newly discovered evidence, intervening law, clear error, or manifest injustice
10   that warrants reconsideration of the rulings in the case from March 4, 2021, to the present.
11   Moreover, the Court has reviewed the record and finds no evidence of fraud in this case.
12   The Court therefore denies Plaintiff’s reconsideration request. The Court also denies this
13   request to the extent Plaintiff presents new arguments and evidence that he reasonably
14   could have raised previously. See Kona, 229 F.3d at 890 (holding that party seeking
15   reconsideration cannot raise new arguments or present new evidence that could have been
16   raised earlier in the case).    Accordingly, the Court DENIES Plaintiff’s motion for
17   reconsideration. IT IS SO ORDERED.
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20   Dated: August 11, 2023
21                                                _________________________
                                                  Hon. Jinsook Ohta
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                                                  United States District Court
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